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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
DAVID SMART,                              :
                  Plaintiff,              :                     Case No. _______________
            v.                            :
                                          :
MAIN LINE HEALTH and META                 :                     JURY TRIAL DEMANDED
PLATFORMS, INC.,                          :
                  Defendants.             :
__________________________________________:

                                CLASS ACTION COMPLAINT

       David Smart (“Plaintiff”), individually and for all others similarly situated, by and through

his undersigned counsel, brings this action against Main Line Health (“MLH”) and Meta

Platforms, Inc. (“Meta”) (collectively, “Defendants”), alleging as follows:

                                  NATURE OF THE ACTION

       1.       This is an action alleging violation of the Electronic Communications Privacy Act

(“ECPA”), 18 U.S.C. § 2510, et seq., violation of the Stored Communications Act (“SCA”), 18

U.S.C. § 2701, et seq., and ancillary claims for breach of contract, negligence and intrusion upon

seclusion to redress Defendants’ practice of capturing and sharing statutorily-protected health care

information, medical records and related information for commercial gain without the knowledge

or consent of MLH’s patients.

       2.       The Health Insurance Portability and Accountability Act of 1996 (“HIPAA”), Pub.

L. No. 104-191, 110 Stat. 1936 (1996) and Pennsylvania law, 28 Pa. Code § 115.27, both prohibit

healthcare providers from sharing patients’ health care information, medical records and related

information with third parties except as needed for a patient’s treatment, payment, or with their

consent. These laws give patients a reasonable expectation of privacy in the information they

provide to, and receive from, their healthcare providers relating to their medical care and treatment,
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because this information may not be disclosed outside the healthcare setting without patients’

knowledge and consent.

         3.       Defendants have violated these laws by accessing and sharing MLH patients’ health

care information, medical records, and related information without their knowledge or consent. In

short,   MLH       encourages    patients   to   use   its   various   web    properties,    including

www.mainlinehealth.org and the MLH MyChart online portal (“MLH MyChart portal”) to manage

their healthcare services by, among other things, scheduling appointments, viewing test results,

requesting prescriptions, and making payments. Defendants worked together to design and place

computer code on its web properties that secretly tracks patients’ protected healthcare information

(i.e., appointments, procedures, medicines) and metadata generated from their interaction with the

site (i.e., IP address, searches, location information) and automatically sends all of this information

to Meta where it is used both to build-out Meta’s user profiles and generate targeted advertising

on its social media platforms, all to Defendants’ financial benefit.

                                             PARTIES

         4.       David Smart is an adult person who resides in Upper Darby Pennsylvania

(Delaware County). Mr. Smart has been a patient of MLH and has used MLH web properties

including, www.mainlinehealth.org and the MLH MyChart portal since before 2018. Mr. Smart

opened a Facebook account before 2012 and has continuously maintained this account to the

present. Since 2018, Mr. Smart has used the MLH web properties to schedule appointments,

search for specific symptoms, health conditions and providers, view test results, contact his

healthcare providers, and review his medications, among other things. By doing so, Mr. Smart’s

personally-identifiable patient information and patient health information were intercepted and

disclosed by Defendants as described herein. Mr. Smart did not receive any notice that his




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personally-identifiable patient information or patient health information were being shared with

Meta or Facebook, or consent to any such disclosure.

        5.       MLH is a non-profit health system with a corporate office in Radnor, Pennsylvania

(Montgomery County) that consists of four acute care hospitals (Lankenau Medical Center, Bryn

Mawr Hospital, Paoli Hospital and Riddle Hospital) and Bryn Mawr Rehabilitation Hospital.

MLH encourages its patients, which number in the thousands, to use and communicate with their

medical providers through its web properties, including www.mainlinehealth.org and the MLH

MyChart portal.

        6.       Meta is a Delaware corporation and global technology conglomerate with its

principal place of business in Menlo Park, California. Meta’s business includes operation of the

Facebook, Instagram and WhatsApp social media sites and related applications.

                                  JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 over the claims

that arise under the Electronic Communications Privacy Act, 18 U.S.C. § 2510, et seq. and the

Stored Communications Act, 18 U.S.C. § 2701, et seq.

        8.       This Court also has subject-matter jurisdiction over this action pursuant to 28

U.S.C. § 1332(d), which, under the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d), 1453

and 1711-15 (“CAFA”), expressly provides federal courts with jurisdiction over any class action

in which: the proposed class includes at least 100 members; any member of the class is a citizen

of a state and any defendant is a citizen or subject of a foreign state; and the amount in controversy

exceeds $5,000,000.00, exclusive of interest and costs.

        9.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants

do business in, and are subject to, personal jurisdiction in this District. Venue is also proper in this




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District, because a substantial part of the events or omissions giving rise to the claim occurred in,

and emanated from, this District.

                                       MATERIAL FACTS

         10.     When a person opens a Facebook account, they accept its Terms, Data Policy, and

Cookie Policy via a checkbox on the sign-up page, https://www.facebook.com/. These Terms,

Data, and Cookie Policies are binding upon Meta and its users.

         11.     The Facebook Data Policy expressly states that Meta “requires” businesses that use

Meta Pixels “to have lawful rights to collect, use, and share your data before providing any data to

[Facebook].” 1

         12.     However, Meta does not verify that the businesses using Meta Pixels, like MLH,

have obtained the requisite consent as stated in their Data Policy.

         13.     Instead, Meta applies an “honor system” where businesses, like MLH, “represent

and warrant that [they have] provided robust and sufficient prominent notice to users regarding the

Business Tool Data collection, sharing, and usage.”2

         14.     As a result, Meta makes its Pixels available to any willing business or publisher,

including healthcare providers like MLH, regardless of the nature of its business.

         15.     Meta’s agreement with MLH concerning the use of Meta Pixels does not comply

with the requirements of HIPAA or Pennsylvania law because it does not contain the required level

of protection for consumers’ personally-identifiable patient information and patient health

information and allows this data to be shared without notice to, or consent from, MLH’s patients.




1
    See https://www.facebook.com/privacy/policy/version/20220104/.
2
    See https://www.facebook.com/legal/terms/businesstools.


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       16.     A Facebook ID is a unique and persistent identifier assigned to each user. With it,

any ordinary person can look up a user’s Facebook profile and name. When Facebook users like

Plaintiff, with personally-identifiable Facebook ID cookies on their browser, use MLH web

properties including www.mainlinehealth.org and the MyChart portal (https://www.mainline

health.org/patient-services/patient-portals), code embedded on these sites causes their identity

and personally-identifiable patient information and patient health information to be transmitted to

Meta by the user’s browser. This transmission is not the patient’s decision, but results from MLH’s

and Meta’s purposeful use of Meta Pixels by incorporation of computer code into MLH’s web

properties. Defendants could have easily programmed its web properties or the Meta Pixels not to

automatically transmit this information to Meta when a patient logs in. However, it is not in either

Defendant’s financial interest to do so, because they both benefit financially by sharing and using

this highly sought-after information.

       17.     Notably, while Meta can easily identify any individual on Facebook with only their

Facebook ID, so too can any ordinary person who comes into possession of a Facebook ID. Indeed,

ordinary persons who come into possession of a Facebook ID can connect to any Facebook profile.

With a Facebook ID and the personally-identifiable patient information and patient health

information Defendants intercept and disclose without consent from the Class members, it is

possible to determine that Facebook user’s doctors, health information, medications, insurance

information and more.

       18.     MLH created and maintains its web properties for patients to communicate with

their doctors, search for specific symptoms, health conditions or providers, schedule healthcare

appointments, receive test results, pay bills and engage in related matters.




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         19.     MLH represents that it is “required by law to make sure that [its patients’ protected

health information] is kept private.”3

         20.     MLH’s Privacy Policy explains that: “Except as permitted under this Notice or as

permitted by law, we will seek your written permission prior to using or sharing your information

for marketing purposes or selling your information 4

         21.     Notwithstanding these promises, without providing any notice to Plaintiff or the

Class members, or receiving their consent, MLH and Meta worked cooperatively to design, create

and deploy tags, tracking pixels, and web beacons and (“Meta Pixels”) on www.mainline

health.org, and the MLH MyChart portal that cause the contemporaneous transmission of

personally-identifiable patient information and patient health information to Meta, which used this

data for multiple commercial purposes without ever providing notice to, or receiving consent from,

MLH’s patients. 5

         22.     At all relevant times, Defendants knew that Meta Pixels intercepted and disclosed

personally-identifiable patient information and personal health information. This is clear from,

among other things, the functionality of the Pixels, the nature of the targeted advertising enabled

from the data the Pixels recovered, including advertising based on, for example, the prescription

drugs, medical tests and procedures captured from their interaction with the MLH’s web

properties.



3
    See https://www.mainlinehealth.org/about/policies/patient-privacy-policies
4
    See https://www.mainlinehealth.org/about/policies/patient-privacy-policies
5
  Meta Pixels are invisible tools “rendered” out of computer code that track consumers’ actions on
its customers’ websites and report them back to Meta and its subsidiaries. To “render” Meta Pixels
for a given website, the site owner tells Meta which website events it wants to capture (e.g.,
scheduling an appointment or messaging a doctor) and Meta writes code that instructs its Meta
Pixels how to capture the data and provides the necessary code to be incorporated into its website.


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       23.     Meta benefits from customers installing Meta Pixels on their websites because it

gives the customer a greater incentive to advertise through on Meta’s social media platforms and,

even if the business does not buy social media ads, the data Meta Pixels collect (particularly when

this data originates outside Meta’s platforms), helps Meta build more fulsome profiles of its users’

preferences and traits by cross-referencing and adding to the data already in its own, detailed user

profiles, all of which allows it to sell highly-targeted ads that generate significant revenue.

       24.     MLH benefits from installing Meta Pixels on its web properties because Meta pays

it for access to the commercially-valuable, personally-identifiable patient information and patient

health information it receives from the www.mainlinehealth.org and the MLH MyChart portal.

       25.     Since 2018, Plaintiff has used www.mainlinehealth.org to schedule appointments,

search for specialty providers, and to research specific symptoms, health conditions, and

treatments.

       26.     Before 2018, Plaintiff created an account on the MLH MyChart portal by entering

his name, mailing address, date of birth, gender, phone number, e-mail address and abbreviated

Social Security number. Since 2018, Plaintiff has used the MLH MyChart portal to schedule

appointments, view test results, contact his healthcare providers, and review his medications,

among other things.

       27.     Plaintiff never received any notice that MLH would disclose his personally-

identifiable patient information or personal health information from the MLH’s web properties to

Meta. Plaintiff never consented to allow MLH to disclose his personally-identifiable patient

information or patient health information to Meta. MLH never provided Plaintiff with any means

to opt-out of the disclosure of his personally-identifiable patient information or patient health

information from www.mainlinehealth.org and the MLH MyChart portal to Meta.




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                               CLASS ACTION ALLEGATIONS

       28.     Plaintiff brings this action as a class action under Federal Rules of Civil Procedure

23(a) and (b)(3) for:

               All patients of MLH, or any of its affiliates, whose use of MLH’s
               web properties caused their personally-identifiable patient
               information or personal health information to be shared with Meta
               without their consent.

(“the Class members”).

       29.     This action is properly maintained as a class action under Fed. R. Civ. P. 23(a)(1),

because the Class members are so numerous and geographically dispersed that their joinder would

be impracticable. Plaintiff believes that Defendants’ business records will permit the identification

of thousands of people meeting the Class definition.

       30.     This action is properly maintained as a class action under Fed. R. Civ. P. 23(a)(2),

because there are many common questions of facts and law concerning and affecting the Class

members, including:

               a. Whether MLH had a duty to protect and refrain from disclosing the
                  Class members’ personally-identifiable patient information and
                  personal health information;

               b. Whether MLH intentionally disclosed, and Meta intentionally received,
                  the Class members’ personally-identifiable patient information and
                  patient health information;

               c. Whether the Class members consented to MLH’s disclosure of their
                  personally-identifiable patient information and patient health
                  information to Meta; and

               d. Whether the Class Members are entitled to damages as a result of
                  Defendants’ conduct.

       31.     Plaintiff also anticipates that Defendants will raise defenses common to the Class.




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       32.     This action is properly maintained as a class action under Fed. R. Civ. P. 23(a)(3),

because Plaintiff’s claims are typical of the claims belonging to the Class members. Plaintiff and

the Class members were harmed by the same wrongful conduct perpetrated by Defendants that

caused their personally-identifiable patient information and patient health information to be

intercepted and disclosed without notice or consent. As a result, Plaintiff’s claims are based on

the same facts and legal theories as the Class members’ claims.

       33.     This action is properly maintained as a class action under Fed. R. Civ. P. 23(a)(4),

because Plaintiff will fairly and adequately protect the interests of all Class members, there are no

known conflicts of interest between Plaintiff and the class members and Plaintiff has retained

counsel experienced in the prosecution of complex litigation.

       34.     Class certification is appropriate under Fed. R. Civ. P. 23(b)(3), because common

questions of law and fact predominate over questions affecting individual Class members, because

a class action is superior to other available methods for the fair and efficient adjudication of these

claims and because important public interests will be served by addressing the matter as a class

action. Further, the prosecution of separate actions by individual class members would create a

risk of inconsistent and varying adjudications, establish incompatible standards of conduct for

Defendants and substantially impair Class members’ ability to protect their interests.

                                         COUNT I
     Violation of the Electronic Communications Privacy Act, 18 U.S.C. § 2510, et seq.
                                 (Against both Defendants)

       35.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       36.     The Class members’ use of MLH’s web properties is an electronic communication

under the Electronic Communications Privacy Act (“ECPA”). See 18 U.S.C. § 2510(12).




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       37.     The MLH MyChart portal and www.mainlinehealth.org are “electronic

communication services” under the ECPA. See 18 U.S.C § 2510(15).

       38.     Whenever        Plaintiff   and   the    Class   members    interacted    with   the

www.mainlinehealth.org or the MLH MyChart portal, Defendants violated the ECPA by using

Meta Pixels to intercept (or endeavor to intercept) the contents of their electronic communications

while knowing (or having reason to know) this information was obtained through the unlawful

interception of an electronic communication. See 18 U.S.C. §§ 2511 (1)(a) and (c)–(d).

       39.     Whenever Plaintiff and the Class members interacted with www.mainlinehealth.org

or the MLH MyChart portal, Defendants violated the ECPA by using Meta Pixels to intentionally

disclose (or endeavor to disclose) the contents of their electronic communications while knowing

(or having reason to know) this information was obtained through the unlawful interception of an

electronic communication. Id.

       40.     Whenever Plaintiff and the Class members interacted with www.mainlinehealth.org

or the MLH MyChart portal, Defendants violated the ECPA by intentionally using (or endeavoring

to use) the contents of their electronic communications while knowing (or having reason to know)

this information was obtained through the unlawful interception of an electronic communication.

Id.

       41.     Whenever Plaintiff and the Class members interacted with www.mainlinehealth.org

or the MLH MyChart portal, Defendants violated the ECPA by intentionally divulging the contents

of their electronic communications while in transmission on that service to any person or entity

other than an addressee or intended recipient (or an agent of such addressee or intended recipient).

See 18 U.S.C. § 2511 (3)(a).




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        42.     Defendants do not meet any of the exceptions to liability provided by 18 U.S.C. §§

2511.

        43.     Any person whose electronic communication is intercepted in violation of ECPA

has a private right of action under 18 U.S.C. §2520(a).

                                           COUNT II
              Violation of the Stored Communications Act, 18 U.S.C. § 2701, et seq.
                                       (Against Meta only)

        44.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        45.     The MLH MyChart portal and www.mainlinehealth.org are “facility[ies] through

which an electronic communication service is provided” under the Stored Communications Act

(“SCA”).

        46.     Meta is an “entity providing an electronic communication service to the public”

under the SCA. See 18 U.S.C. § 2702(a)(1).

        47.     Meta is an “entity providing remote communication service to the public” under

the SCA. See 18 U.S.C. § 2702(a)(2).

        48.     Meta violated the SCA by intentionally accessing www.mainlinehealth.org and the

MLH MyChart portal without authorization. See 18 U.S.C. § 2701(a)(1).

        49.     Meta violated the SCA by intentionally exceeding an authorization to access the

www.mainlinehealth.org and the MLH MyChart portal. See 18 U.S.C. § 2701(a)(2).

        50.     Meta violated the SCA by knowingly divulging the contents of communications

while electronically stored on www.mainlinehealth.org and the MLH MyChart portal. See 18

U.S.C. § 2701(a)(2).

        51.     Meta violated the SCA by knowingly divulging the contents of communications

maintained on MLH’s web properties that were received by means of electronic transmission from




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(or created by means of computer processing of communications received by means of electronic

transmission from) its subscribers or customers. See 18 U.S.C. § 2701(a)(2)(A).

       52.     Meta violated the SCA by knowingly receiving from MLH the contents of

communications maintained on www.mainlinehealth.org and the MLH MyChart portal that were

received by means of electronic transmission from (or created by means of computer processing

of communications received by means of electronic transmission from) that it was not authorized

to access for any purpose. See 18 U.S.C. § 2701(a)(2)(B).

       53.     Meta violated the SCA for purposes of commercial advantage, malicious

destruction or damage, private commercial gain and in furtherance of criminal and tortious acts in

violation of the Constitution or laws of the United States or any State. See 18 U.S.C. § 2701(b)(1).

       54.     Meta does not meet any of the exceptions to liability provided by 18 U.S.C. §

2701(c).

       55.     18 U.S.C. § 2707(a) provides a private right of action to any person “aggrieved by

any violation of this chapter in which the conduct constituting the violation is engaged in with a

knowing or intentional state of mind.”

                                          COUNT III
                                       Breach of Contract
                                       (Against Meta only)

       56.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       57.     Meta requires Facebook users to click a box indicating that, “By clicking Sign Up,

you agree to our Terms, Data Policy and Cookies Policy.”

       58.     “Click-wrap agreements” such as the one used by Facebook are valid and binding

contracts.




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       59.     The Facebook Terms, Facebook Data Policy, and Facebook Cookie Policy are

binding on Facebook and its users.

       60.     The Facebook Data Policy promises users that Facebook “requires each of

[Facebook’s] partners to have lawful rights to collect, use and share your data before providing

any data to [Facebook].”

       61.     Meta breached these contractual promises by not requiring MLH, a healthcare

provider partner, to provide notice and obtain consent from its patients before receiving their

personally-identifiable    patient   information     and    patient    health    information    from

www.mainlinehealth.org and the MLH MyChart portal.

       62.     The personally-identifiable patient information and other patient health information

that Meta obtained from the Class members through MLH’s web properties in breach of these

contractual promises include: Patient IP addresses, cookie identifiers, device identifiers, account

numbers and every electronic communication the patient has through www.mainlinehealth.org and

the MLH MyChart portal, including medical conditions, doctors’ appointments, test results and

communications with their healthcare providers.

       63.     Meta’s breach of contract has caused Plaintiff and the Class members to suffer

damages that are measured, at a minimum, by the value Meta paid to MLH for access to their

personally-identifiable    patient   information     and    patient    health    information    from

www.mainlinehealth.org and the MLH MyChart portal, which represents the value of Plaintiff’s

and the Class members’ data.

                                           COUNT IV
                                           Negligence
                                       (Against MLH only)

       64.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.




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       65.     Plaintiff and the Class members were patients of MLH and received healthcare

services from MLH.

       66.     Federal law imposes a similar duty on healthcare providers not to disclose patients’

medical records for marketing purposes without the patient’s express written authorization. See

42 U.S.C. § 1320; 45 C.F.R. §§ 164.501; 164.508(a)(3), 164.514(b)(2)(i).

       67.     Pennsylvania law imposes a duty on healthcare providers to maintain the

confidentiality of all medical records and limit access to those records only to those people whom

a patient grants express written authorization to view them. See 28 Pa. Code § 115.27

       68.     MLH breached its duty to maintain the confidentiality of medical records belonging

to Plaintiff and the Class members by intentionally deploying tracking pixels and web beacons on

www.mainlinehealth.org and the MLH MyChart portal that caused the transmission of personally-

identifiable patient information and personal health information to third parties, including Meta.

       69.     Plaintiff and the Class members have suffered damages as a result of MLH’s breach

of its duty to maintain the confidentiality of medical information belonging to Plaintiff and the

Class members. Plaintiff’s damages are measured, at a minimum, by the value of the payments

MLH received from Meta related to its use of Meta Pixels on www.mainlinehealth.org and the

MLH MyChart portal, since these payments were provided to gain access to Plaintiff’s and the

Class members’ confidential medical records.

       70.     MLH’s breach caused Plaintiff’s and the Class members’ damages, because it gave

Meta access to their personally-identifiable patient information and personal health information,

in contravention of all its duties, so this information could be used for commercial purposes.




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                                           COUNT V
                         Invasion of Privacy - Intrusion Upon Seclusion
                                      (Against MLH only)

       71.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       72.     The common law tort of intrusion protects others from intentionally intruding into

a communication or matter as to which another has a reasonable expectation of privacy.

       73.     Under federal law, a health care provider may not disclose personally identifiable

information about a patient, potential patient, or household member of a patient for marketing

purposes without the patient’s express written authorization. See HIPAA, 42 U.S.C § 1320; 45

C.F.R. §§ 164.501; 164.508(a)(3), 164.514(b)(2)(i).

       74.     The Office of Civil Rights at the United States Department of Health and Human

Services (“HHS”) has issued guidance concerning the online tracking technologies used by

HIPAA covered entities.6 HHS has concluded that “HIPAA Rules apply when the information that

regulated entities collect through tracking technologies or disclose to tracking technology vendors

includes protected health information (PHI).” Id. It has clarified that HIPAA protects both

authenticated (i.e. patient portal) and unauthenticated (i.e. public) pages. Id.

       75.     Plaintiff and the Class members have a reasonable expectation of privacy with

respect to their use of, communications on and documents accessed through, the MLH MyChart

portal and www.mainlinehealth.org not only because Pennsylvania and federal law impose a strict

duty of confidentiality with respect to this information, but also because they were engaged in

private communications concerning their personal healthcare decisions (communications with

their healthcare providers, treatments, medications, etc…) on a password-protected website




6
  See https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-online-
tracking/index.html#ftnref21


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created and maintained by their healthcare provider for the express purpose of communicating

about private healthcare matters.

       76.        MLH intentionally intruded into communications and matter as to which Plaintiff

and the Class members have a reasonable expectation of privacy by allowing the deployment of

Meta Pixels on the MLH MyChart portal that sent Plaintiff’s and the Class members’ personally-

identifiable patient information, personal health information to Meta.

       77.        MLH also intentionally intruded into communications and matter as to which

Plaintiff and the Class members have a reasonable expectation of privacy because MLH’s Patient

Privacy Policy expressly promises that MLH is “required by law to: make sure that [its patients’]

PHI is kept private,” and “[MLH] will seek your written permission prior to using or sharing your

information for marketing purposes or selling your information.”7

       78.        MLH’s intrusion into Plaintiff’s and the Class members’ privacy occurred in a

manner that is highly offensive to a reasonable person, because: MLH intentionally deceived its

patients into believing that communications and matters addressed on its web properties would be

private; worked with Meta to install a secret means of collecting this information without patients’

notice and consent; sold Plaintiff’s and the Class members’ personally-identifiable patient

information and personal health information to be turned into targeted advertising on Meta’s

various social media platforms; and continued to engage in this behavior even after its conduct

became publicly-known.

       79.        MLH did not provide Plaintiff or the Class members with notice that it was sharing

their personally-identifiable patient information and personal health information with Meta and




       7
           See https://www.mainlinehealth.org/about/policies/patient-privacy-policies



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Plaintiff and the Class members did not consent to share their personally-identifiable patient

information and personal health information with Meta.

       80.      As a result of MLH’s intrusion upon their seclusion, Plaintiff and the Class

members have suffered, and will continue to suffer, damages and injury as set forth herein.

       81.      For intentionally violating their common law entitlement to seclusion in their

private affairs, Plaintiff and the Class members seek all monetary and non-monetary relief allowed

by law, specifically including injunctive relief requiring MLH to cease violating their privacy

rights without their knowledge or consent and nominal damages of $100 per violation.

                                      PRAYER FOR RELIEF

       Wherefore, Plaintiff respectfully asks this Court for an Order:

             a. Certifying this case as a class action, appointing Plaintiff as Class
                Representatives, and appointing Stephan Zouras LLP as Class Counsel;

             b. Entering judgment for Plaintiff on his ECPA claim and awarding all
                damages available under 18 U.S.C. § 2520, including equitable or
                declaratory relief, compensatory and punitive damages and attorney’s fees
                and costs;

             c. Entering judgment for Plaintiff on his SCA claim and requiring Meta to pay
                all available damages, including equitable or declaratory relief, statutory
                damages of at least $1,000 per person measured by the profit from Meta’s
                violation of the Act, punitive damages and attorney’s fees and costs;

             d. Entering judgment for Plaintiff on his breach of contract claim and requiring
                Meta to pay all available damages;

             e. Entering judgment for Plaintiff on his negligence claim and requiring MLH
                to pay all available damages;

             f. Entering judgment for Plaintiff on his intrusion upon seclusion claim and
                requiring MLH to pay all available damages;

             g. Awarding injunctive and equitable relief to protect the interests of Plaintiff
                and the Class members;




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    h. Awarding recovery of Plaintiff’s reasonable attorneys’ fees and
       reimbursement of his litigation expenses;

    i. Awarding pre- and post-judgment interest on all damages awarded; and

    j. Awarding such additional relief as justice requires.

                              JURY TRIAL DEMAND

Plaintiff demands a trial by jury on all issues so triable.



                                                Respectfully Submitted,

Date: December 30, 2022                          /s/ David J. Cohen
                                                David J. Cohen
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